                           NO. 07-09-0178-CR

                        IN THE COURT OF APPEALS

                   FOR THE SEVENTH DISTRICT OF TEXAS

                              AT AMARILLO

                                PANEL D

                           DECEMBER 15, 2010




                          MICHUEL ALLEN REAMY,


                                 Appellant
                                   v.


                          THE STATE OF TEXAS,


                                 Appellee
                     _____________________________

             FROM THE 47TH DISTRICT COURT OF POTTER COUNTY;

              NO. 58,867-A; HONORABLE HAL MINER, PRESIDING



                           Memorandum Opinion



Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.
      Michuel Allen  Reamy  challenges  his  conviction  of  aggravated
robbery by contending the  evidence  is  insufficient  to  show  he  1)
intentionally or knowingly threatened  another  or  placed  another  in
fear of imminent bodily injury or death, 2) used or exhibited a  deadly
weapon in the course of committing robbery, and 3)  employed  a  weapon
in any manner that facilitated a robbery.  We disagree and  affirm  the
conviction.




      Background
      On November 18, 2008, Juan Montelongo, the manager of  the  Pilot
store at Lakeside and  I-40  in  Amarillo,  heard  strange  noises  and
observed  appellant  acting  suspiciously  around  a  case   containing
electronics.  He then saw appellant  walk  toward  him  and  leave  the
store.  Montelongo went straight to the glass  case  which  was  broken
and determined that two radar detectors were missing.
       Montelongo  got  in  his  vehicle  and  followed  appellant   to
America’s Best  Value  Inn.   He  confronted  appellant  but  appellant
denied that he had stolen anything.
Appellant then moved towards him so Montelongo  attempted  to  restrain
appellant.  The two wrestled with each other and fell into the door  of
the motel when it was opened by a  person  in  the  motel.   Montelongo
kept appellant pinned to the ground.   While  doing  so,  a  knife  was
observed in appellant’s hand.  Montelongo released appellant after  the
police arrived.  The two radar detectors were  found  on  appellant  at
the police station.
      Sufficiency of the Evidence
      Although appellant has challenged  both  the  legal  and  factual
sufficiency of the evidence, we conduct  a  review  only  to  determine
whether a rational trier of fact could have found the elements  of  the
crime beyond a reasonable doubt.   Brooks  v.  State,  No.  PD-0210-09,
2010 Tex. Crim. App. Lexis 1240 at *57  (Tex.  Crim.  App.  October  6,
2010).  To prove aggravated robbery, the State  was  required  to  show
that while in the course of  committing  theft  of  property  and  with
intent to obtain and  maintain  control  of  that  property,  appellant
intentionally or knowingly threatened and placed Montelongo in fear  of
imminent bodily injury and death  and  that  he  used  or  exhibited  a
deadly weapon during the commission of the robbery.   Tex.  Penal  Code
Ann. §29.02(a)(2) &amp; 29.03(a)(2) (Vernon 2003).
      Appellant testified at  trial.   In  doing  so,  he  admitted  to
stealing the two items from the Pilot store and to  leaving  the  store
with the intent to maintain control over them and to avoid  capture.[1]
 He further admitted that he had denied to Montelongo  and  the  police
that he had  stolen  anything.   However,  he  claimed  that  he  never
exhibited a knife or threatened Montelongo.   According  to  appellant,
he carried his  knife  clipped  on  his  pocket  and,  when  Montelongo
attacked him, the knife fell out.
       Nevertheless, there was evidence that 1) appellant  was  excited
and  angry,  2)  appellant  stepped  toward  Montelongo,  3)  appellant
struggled  against  Montelongo’s  attempted  restraint   of   him,   4)
Montelongo saw a knife in appellant’s hand with  an  open  blade  while
they were struggling, 5) appellant  would  not  let  go  of  the  knife
although Montelongo instructed him to do so more than once, 6) a  motel
employee (Luis Rodriguez) testified that another person (Juan  Fuentes)
removed the knife from appellant’s hand, 7) Fuentes testified  that  he
saw the knife  in  appellant’s  hand  while  appellant  struggled  with
Montelongo, 8) the knife was three to three and a half inches long  and
was a lock blade knife, 9) Montelongo stated that  the  knife  used  by
appellant could have caused serious bodily injury or death and that  he
was concerned that appellant might use it on  him,  and  10)  a  police
officer testified that such a knife  was  capable  of  causing  serious
bodily injury or death.
      Actions taken during flight from a theft constitute part  of  the
offense of aggravated robbery.  Garza v. State,  100  S.W.3d  347,  349(Tex. App.–San Antonio 2002, no pet.); see also McCall  v.  State,  113
S.W.3d 479, 481 (Tex. App.–Houston [1st Dist.] 2003, no pet.)  (holding
that  violence  accompanying  an  escape  subsequent  to  a  theft  can
constitute aggravated robbery); Rabb v.  State,  681  S.W.2d  152,  154(Tex.  App.–Houston  [14th  Dist.]  1984,  pet.  ref’d)  (holding  that
robbery includes violence that occurs  in  immediate  flight  from  the
scene of a theft).  Moreover, “use” of a deadly weapon  can  be  simple
possession as long as it facilitates the commission of  the  associated
offense.  Coleman v. State,  145  S.W.3d  649,  652  (Tex.  Crim.  App.
2004).   Therefore,  if  the  jury  disbelieved  appellant,  there  was
evidence from which it could have inferred beyond  a  reasonable  doubt
that appellant intended to use  the  knife  in  order  to  escape  from
Montelongo and maintain possession of the stolen property.[2]
      Accordingly,  the  issues  are  overruled  and  the  judgment  is
affirmed.


                                   Per Curiam




Do not publish.
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      [1]Appellant also admitted to being intoxicated.

      [2]Even if factual sufficiency review was appropriate,  we  would
conclude, from the  entirety  of  the  record,  that  the  evidence  is
factually sufficient to support appellant’s conviction.



